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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION
Christopher Morales and Mary Helen        §
Morales                                   §
             Plaintiffs,                  §   Civil Action No:
                                          §
v.                                        §                           5:22-cv-00527-XR
                                          §
Specialized Loan Servicing, LLC,          §
                                          §
             Defendant.                   §


                   Plaintiff’s Response to Defendant’s Motion for
                  Summary Judgment Pursuant to Fed. R. Civ. P. 56

                             ____________________


Introduction

     1. When a loan is charged off, a creditor who wants to continue to charge interest is

        required to send periodic statements. When those statements are not sent, the

        creditor can’t charge interest. Here, SLS’s account ledgers show the loan in

        question was charged off. During this charge-off period SLS failed to send

        periodic statements. Will this Court allow SLS to saddle Plaintiffs with interest

        they can’t charge?



Background

     2. In 2007, Plaintiffs purchased a home subject to two mortgages, sometimes

        referred to as “piggyback mortgages.” These mortgages typically split up the
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        payment into an 80/20 payment scheme, allocating 80% of the purchase price

        to a conventional mortgage and the second mortgage covers the other 20%.

        Plaintiffs made regular, on time payments on both loans until about 2010, when

        the servicing of their primary mortgage was transferred to Nationstar Mortgage

        Holdings, Inc. They were informed by Nationstar that they longer needed to

        make two separate payments, that their two mortgages had been rolled into

        one. They did not receive any information contrary to this and took

        Nationstar’s word for it.


     3. In the summer of 2021, Plaintiffs started receiving loss mitigation notices from

        SLS, concerning the 20% mortgage. Had they known they had to make

        payments on the 20% mortgage they would have done so. Plaintiffs filed suit in

        Bexar County on April 26, 2022. On May 24, 2022, SLS removed this action.

        SLS filed its motion for summary judgment on October 31, 2022. Plaintiffs filed

        a Rule 56(d) motion to secure additional discovery responses and this Court

        generously granted extra time to file this response.



Legal Standard

     4. When considering a motion for summary judgment, the evidence is viewed in

        the “light most favorable to the nonmovant.” Minter v. Great Am. Ins. Co. of

        N.Y., 423 f.3D 460, 465 (5th Cir. 2005). To survive a motion for summary
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           judgment, the nonmovant “need only present evidence from which a jury

           might return a verdict in his favor.” Anderson v. Liberty Lobby, Inc., 477 U.S.

           242, 257, 106 S. Ct. 2505, 91 L. Ed 2d 202 (1986).

        5. As the Court will see, SLS admits they suppressed the sending of periodic

           statements, and their account ledgers show it marked the Moraleses loan as

           “charged off.” There is a period of months where these two conditions

           overlapped. During this overlap period the loan should not have accrued

           interest.



Argument and Authorities

        6. SLS makes a motion for summary on four grounds. Accordingly, Plaintiffs

           respond to each.

  A. Plaintiff’s TILA Claim is not barred by limitations

   I.      SLS’s authority is unpersuasive.

        7. Each of the TILA cases cited by SLS concerns defective disclosure in cases filed

           more than a year after the corresponding offer of credit. Moor concerns a credit

           transaction consummated “without giving the required disclosures.” Moor v.

           Travelers Ins. Co., 784 F.2d 632, 633 (5th Cir. 1986). Moor filed suit in 1985 for

           Travelers failure to provide the required disclosures in 1978. Moor is

           inapplicable here as it does not consider a creditor’s ongoing obligation to send

           periodic statements.
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8. SLS refers to Bourgeois v. Haynes Constr. Co., 728 F.2d 719 (5th Cir. 1984) in

   support of its statute of limitations argument. Bourgeois deals with the

   consummation of a transaction and Louisiana contract law. In that case there

   was never a consummation of the transaction, and the case never touched on

   TILA limitations, only what constitutes consummation under Louisiana law.

   Again, Bourgeois does not consider a creditor’s ongoing obligation to send

   periodic statements.

9. Similarly, the other cases cited involve disclosures required at the

   consummation of the loan. Bittinger v. Wells Fargo Bank NA, 744 F. Supp. 2d

   619, 628 (S.D. Tex. 2010) (Alleging failure to provide TILA disclosures in

   2007; case filed in 2010). Williams v. Countrywide Home Loans, Inc., 504 F.

   Supp. 2d 176 (S.D. Tex. 2007) (Suit filed in 2006 for “failure to make certain

   required disclosures” as part of a 1995 loan.) at 183. In re Smith, 737 F.2d 1549,

   1550 (11th Cir. 1984) (finding that a suit filed in 1980 for nondisclosure at the

   time of a 1977 loan was untimely). Wachtel v. West, 476 F.2d 1062, 1063 (6th

   Cir. 1973) (Plaintiffs sued in 1972 for a lack of TILA disclosures on a loan taken

   out in 1970). None of these cases consider a creditor’s ongoing obligation to

   send periodic statements.

10. The most persuasive case SLS cites is Hibbs v. Wells Fargo Bank, N.A., No. 17-

   615-SDD-RLB, 2018 U.S. Dist. LEXIS 110600, at *14 (M.D. La. 2018). While
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         this case makes the best argument, it is concerned with “continuing violations”

         that reach back from 2011 to 2017 dealing with forced place insurance.

      11. Taking SLS’s argument on its face, they seem to say that TILA imposes no

         duty to comply a year after a loan is originated. This position does not make

         sense legally or logically. It would mean that a lender can violate the provisions

         of TILA unrelated to the initial disclosures more than one year after a loan is

         originated without repercussion.

      12. Here, the Moraleses are not complaining about the initial disclosures when

         they took out the loan in 2007. Nor are they trying to reach back to 2007 to

         complain about some continuing violation.

      13. The Moraleses did not receive, because SLS did not send, per its TILA

         obligation, periodic statements. SLS claims that after statements were

         returned, they stopped sending them. There is no exception for this in TILA.

         They claim that the Moraleses moved. But there is no prohibition on a

         consumer residing somewhere other than the property address. Neither is there

         a law prohibiting ownership of more than one home.

      14. Mr. and Mrs. Morales testify that they never forwarded their address with the

         USPS, never declined mail, and had family living in their home that would

         bundle and send their mail to them on a regular basis.

II.      Applying Equitable Tolling
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15. Equitable tolling is to be read into every federal statute of limitations unless

   Congress expressly provides to the contrary in clear and unambiguous

   language. See Holland v. Florida, 560 U.S. 631, 645, 130 S. Ct. 2549, 177 L. Ed.

   2d 130 (2010). See also Young v. United States, 535 U.S. 43, 49, 122 S. Ct. 1036,

   152 L. Ed. 2d 79 (2002); Rotella v. Wood, 528 U.S. 549, 561, 120 S. Ct. 1075, 145

   L. Ed. 2d 1047 (2000); Holmberg v. Armbrecht, 327 U.S. 392, 397, 66 S. Ct. 582,

   90 L. Ed. 743 (1946). Cf. TRW, Inc. v. Andrews, 534 U.S. 19, 122 S. Ct. 441, 151

   L. Ed. 2d 339 (2001) (questioning whether discovery rule is generally applicable

   to federal statutes of limitation, but not questioning general applicability of

   equitable tolling). But cf. United States v. Beggerly, 524 U.S. 38, 118 S. Ct. 1862,

   141 L. Ed. 2d 32 (1998) (equitable tolling inconsistent with Quiet Title Act

   because Act provides an explicit discovery rule).

16. “All Circuit Courts of Appeal that have addressed the question of equitable

   tolling have held that § 1640(e) is a statute of limitation subject to equitable

   tolling.” Maxwell v. Chase Home Fin. LLC, No. H-09-4038, 2011 U.S. Dist.

   LEXIS 4797, at *13 (S.D. Tex. 2011) (collecting cases).

17. Since TILA does not evidence a contrary intent, equitable tolling must be read

   into the statute. See Ellis v. GMAC, 160 F.3d 703, 708 (11th Cir. 1998);

   Ramadan v. Chase Manhattan Corp., 156 F.3d 499 (3rd Cir. 1998); Jones v.

   TransOhio Say. Ass’n, 747 F.2d 1037 (6th Cir. 1984). Judge Richard Nygaard

   explained it succinctly, “Allowing lenders to violate TILA, but avoid liability if
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   they successfully concealed the violation from the debtor for a year, would

   undermine the core remedial purpose of TILA.” Ramadan, 156 F.3d 502 (3d

   Cir. 1998).


18. The 5th Circuit requires concealment beyond mere non-disclosure in applying

   equitable tolling to TILA. Moor, 784 F.2d 632, 633 (5th Cir. 1986) (“To clothe

   himself in the protective garb of the tolling doctrine, a plaintiff must show that

   the defendants concealed the reprobated conduct and despite the exercise of

   due diligence, he was unable to discover that conduct.”); Hibbs v. Wells Fargo

   Bank, N.A., No. 17-615-SDD-RLB, 2018 U.S. Dist. LEXIS 110600, at *15-16

   (M.D. La. 2018); Bobbitt v. Wells Fargo Bank, N.A., Civil Action No. H-14-387,

   2015 U.S. Dist. LEXIS 182840, at *7 (S.D. Tex. 2015) (applying the standard of

   equitable tolling when the defendant’s wrongful conduct goes beyond mere

   non-disclosure).

19. When confronted with this issue, the Southern District’s Bankruptcy Court

   took from other circuits and agreed that equitable tolling is applicable when

   analyzing claims under TILA, stating that they see “no reason to depart from

   the substantial precedent in favor of equitable tolling.” Harmon v. Lighthouse

   Capital Funding, Inc. (In re Harmon), Nos. 10-33789, 10-03207, 2010 Bankr.

   LEXIS 3836, at *12 (Bankr. S.D. Tex. 2010).
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       20. In the Harmon case, the Harmons were unaware of evidence supporting their

          claim until nine days after the trial had begun in their case. The court found

          that defendant Lighthouse caused the delay by failing to produce statements

          when originally requested by the Harmons. Here, like Lighthouse, SLS never

          sent statements to the Moraleses. When the Moraleses, like the Harmons,

          requested documents via qualified written requests, SLS refused to produce

          more than a handful of responsive documents. These documents raised more

          questions than they answered. Exhibits A & B. The Court should note that in

          Harmon, Judge Isgur found that equitable tolling applied.

       21. The 5th Circuit further explained equitable tolling in Rashidi v. Am. President

          Lines, 96 F.3d 124 (5th Cir. 1996). Rashidi deals with a work-related accident

          aboard the U.S.N.S. COMET. The Court reasoned that “equitable tolling

          applies principally where the plaintiff is actively misled by the defendant about

          the cause of action or is prevented in some extraordinary way from asserting his

          rights.” Id. at 128. While Rashidi does not directly deal with TILA it speaks to

          need for due diligence on the Plaintiff’s part. Id. at 128.

III.      SLS concealed its conduct

       22. First, SLS did not send the Moraleses periodic statements. See

          Exhibit C (Morales Affidavit) And for a period of 13 months this agrees

          with SLS’s records. See Exhibit D and Dkt. 33 ¶ 8. Neither Mr. nor Mrs.
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   Morales could have engaged in due diligence until they received

   communications from SLS in July 2021 to the property address.

23. Second, SLS did not report the loan on Mr. or Mrs. Morales’s credit reports.

   Exhibit E. (SLS’s internal logs showing no credit reporting) (The code in

   question here is CR BUR RPT STATUS=N, as the Court can see with the find

   function in the top right-hand corner, this nonreporting shows 84 times in the

   history of the Moraleses servicing.) Exhibit F (email correspondence defining

   abbreviations).




24. Third, when the Moraleses sought more information—SLS refused. Once

   the Moraleses suspected that second mortgage may not have been

   rolled into the first, they sought more information by sending SLS

   a qualified written request. Exhibit G. SLS’s responses failed to

   shed any light on their situation. If SLS had produced the

   requested documents at this time, including the servicing file, the

   Moraleses would have had documentation of the TILA violation.

25. After the meager response to the first QWR, they sent a second

   request explaining they were requesting more limited information
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      and why they needed the information they requested. Exhibit H.

      SLS provided very little information, but did produce a document

      marked “SUPPRESED - Bad Address.” Exhibit H.

   26. SLS hid the second mortgage from Mr. and Mrs. Morales,

      frustrated their attempts to get more information, and charged

      interest while their note was charged off. The application of

      equitable tolling for their TILA claim is proper.

B. Plaintiffs suffered monetary damages.

   27. SLS is correct in stating that 12 CFR § 1026.41(e)(6)(ii)(B) applies to charged

      off loans. But its arguments and evidence do not reconcile. First, SLS’s states

      “There is no evidence that Plaintiff’s mortgage loan was ever in charge-off

      status...” Dkt. 28. ¶42. Second, SLS’s documents show on September 16, 2015

      SLS placed the Loan in a charge off status:




      Exhibit D. (Emphasis in original).


   28. Later that same day further down SLS’s transaction ledger, the loan is placed

      in a charge off status again, and even referred it to loss mitigation.
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             Exhibit D. (Emphasis in original).


        29. In November 27, 2019, SLS’s records indicated that they reversed the charge

             off. 1




        30. Following the charge-off, SLS admits that it failed to send statements. This

             failure is supported by the SLS’s documents and its admissions. Exhibit H

             shows statements that were not sent by SLS and are watermarked with

             “Suppressed – Bad Address.”

        31. SLS admits to not sending disclosures from July 2019 to August 2021. Dkt. 33.¶

             8. (“While there was a short time where SLS acknowledges that it generated

             monthly statements but did not send the monthly statements…”) (emphasis

             added).

        32. These two time periods overlap from July 2019 to November 2019—the loan

             both charged-off and disclosures were not sent—therefore 12 CFR §

             1026.41(e)(6)(ii)(B) applies. During this time SLS wrongfully accrued interest

             on the mortgage.

        33. As discussed above, this could not have been discovered by the Moraleses

             until, at the very earliest, July 2021. The more reasonable time for discovery of


1
 Whether a debt accelerated and charged off for more than four years can be reversed is a question beyond the scope
of this argument, but could mean that the foreclosure in 2022 was untimely.
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      this is November 28, 2022, when this Court compelled and SLS produced

      account ledger. Until this time, SLS represented, including to the Court, that

      the loan had never been charged off. As seen above, the account ledger shows

      otherwise.

   34. No matter when it was discovered, the Moraleses suffered damage during the

      overlap of these two time periods. This Court has explained that the damages

      the Moraleses alleged in their pleading are “concrete injuries in the form of

      actual monetary damages, including wrongfully accrued interest…” Docket

      No. 29. The failure to receive periodic statements “in connection with [a]

      secondary mortgage… [is a ] statutorily recognized injur[y].” Docket No. 29.

   35. This injury is supported by SLS’s statements, the balance in the July 2019

      statement is $20,142.25 and the November 2019 statement is $20,855.25. They

      were charged $713.00 in interest in violation of TILA. Exhibit I.

C. Defendant violated the Texas Debt Collection act by misrepresenting the

   amount of debt.

   36. SLS made a false and misleading misrepresentations of the amount of debt

      owed by the Moraleses. For a period of five months, SLS had the Moraleses

      loan in a charged off status, while also not sending disclosures as required by

      statute. Defendants “misrepresent[ted] the character, extent, or amount of a

      consumer debt… in a judicial or governmental proceeding,” in violation of the

      Texas Debt Collection Act by including the interest that was unlawfully
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   accrued in statements sent during the charge off period and after. Tex. Fin.

   Code § 392.304(a)(8); 12 CFR § 1026.41(e)(6)(ii)(B).

37. SLS is entitled to pursue their statutory right to exercise foreclosure and

   threaten the same. But they can’t, in the process, misrepresent the amount of

   the debt. Unlike in May and Cole, the Moraleses have not challenged SLS’s

   right to threaten foreclosure, merely that in doing so they misrepresented the

   amount of the debt. Cole v. U.S. Bank Nat. Ass’n ND, 2011 WL 3651029, *1

   (S.D. Tex. 2011); May v. Wells Fargo Bank, N.A., 2013 WL 4647673 (S.D. Tex.

   2013).

38. Also, unlike in May, the Moraleses have alleged an affirmative statement

   violating the Finance Code. May, 2013 WL 4647673. They did so in their

   amended complaint, stating “In so doing SLS added interest and other

   amounts that are not allowed under law. SLS violated Chapter 392 of the Tex.

   Fin. Code.” Dkt. 9. ¶ 54. As the Court has seen above, SLS should not have

   accrued interest when the Moraleses’ loan was in charged off status.

39. “[A] servicer may not retroactively assess fees or interest on the account for

   the period of time during which” the loan was charged off. 12 CFR §

   1026.41(e)(6)(ii)(B). As seen above, SLS placed the Moraleses loan in a charge

   off status. In doing so, SLS restricted their ability to lawfully assess interest on

   the account. It follows then that in any act of debt collection that proceeded
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         that accrual of interest, they unlawfully misstated the amount of debt, in

         violation of Tex. Fin. Code. § 392.304(a)(8).

      40. Whether or not the Court finds that equitable tolling applies to the TILA

         claim, the interest that accrued in violation of TILA during the overlap period

         discussed above should be charged against the Moraleses. Collecting this

         wrongfully accrued interest violates the Texas Finance Code whether or not

         they can get relief under TILA.

D. Plaintiffs establish breach of contract.

 I.      The Moraleses gave consideration and were not the first party to breach the contract.

      41. Generally, it is true that the party who first breaches a contract can’t complain

         about the subsequent failure of the other party to perform. Presley v. Cooper, 278

         S.W.2d 237, 241 (Tex. Civ. App. – Amarillo 1955, rev’d on other grounds, 155

         Tex. 168, 284 S.W.2d 138 (Tex. 1955).

      42. The Moraleses were not the first party to breach the contract. Until they were

         told by Nationstar that their mortgages had been combined, the Moraleses

         made all payments on time and in full on both mortgages. The Moraleses

         performed their obligations under the contract; the Court can see this plainly

         by the amount of the note that was contracted in 2007, and the amount on

         SLS’s first statement in 2015. Exhibit J (the note states the amount of the

         mortgage as $20,571. Exhibit K (SLS’s first statement which shows the balance

         at $11,942.75). Given that interest accrued from the time the Moraleses
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         stopped payment on the second mortgage, while the amount is unknown to the

         plaintiffs at this time, it can be reasonably assumed that the Moraleses paid

         about half the principal balance.

      43. The Moraleses are not alleging their mortgage was modified. They are alleging

         that there was a misrepresentation from the primary mortgage holder and the

         lack of notice from the servicer of the secondary mortgage substantiated the

         misrepresentation.

II.      The statute of frauds does not apply to Nationstar’s purported modification

         statement.

      44. Even if the Moraleses were alleging a mortgage modification, the authority

         cited by SLS is unpersuasive. SLS cites the Harris and Ellen cases to attempt to

         establish a statute of fraud preclusion on what they purport to be an oral

         modification. Both cases rest on Tex. Bus. & Com. Code § 26.02, which

         contemplates a statue of fraud preclusion including contracts in writing for

         loans exceeding $50,000. Ellen v. F.H. Partners, LLC, 2010 WL 4909973 (Tex.

         App. – Austin 2010, no pet. hist.) (memorandum opinion); In re Harris, 2011

         WL 2708691 (Bankr. S.D. Tex. 2011). Tex. Bus. & Com. Code § 26.02 (“(b)

         A loan agreement in which the amount involved exceeds $50,000 in value…

         (d) An agreement subject to Subsection (b) of this section may not be varied

         by any oral agreements or discussions…”) (emphasis added).

      45. The amount of the loan in this cause was $20,571 when originated, well below
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            $50,000. Exhibit J. In the final statement sent by SLS in March of 2022 the

            loan amount was $26,328. Exhibit L.

         46. The purported statute of frauds preclusion is not applicable to the Moraleses

            second mortgage. Neither Harris or Ellen are similar to the issues presented

            here, the Moraleses have not alleged that the misrepresentation stemmed from

            SLS and the secondary mortgage, the misrepresentation occurred from the

            primary mortgage holder.

  III.      TILA limits the Note.

         47. The note states that “This Note is governed by federal law.” ¶10 Defendant’s

            Exhibit A. TILA applies to the calculation of interest under the note. As

            established above, interest accrued in violation of TILA. SLS charged this

            amount to the Moraleses in breach of TILA and also in breach of the note.



Conclusion

         48. The Moraleses ask the Court to deny SLS’s motion.

         49. They present a genuine issue of material fact on their Truth In Lending Act

            claim. SLS admits it did not send statements. During this time the loan was in a

            charge-off status. The interest accrued in this time should not be added to the

            balance.
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50. The amount SLS claims is owed is inflated by interest that cannot be charged.

   This inflated balance forms the basis of the Moraleses claim under the Chapter

   392 of the Texas Finance Code.

51. Finally, one of the terms of the note is that all amount charged must be allowed

   by applicable law. This prohibits SLS from charging the interest that accrued in

   violation of TILA.

52. This Court must deny SLS’s motion.



                                   Respectfully Submitted,

                                   /s/William M. Clanton
                                   William M. Clanton
                                   Texas Bar No. 24049436

                                   Law Office of Bill Clanton, P.C.
                                   926 Chulie Dr.
                                   San Antonio, Texas 78216
                                   210 226 0800
                                   210 338 8660 fax
                                   bill@clantonlawoffice.com
